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 1                   UNITED STATES DISTRICT COURT

 2                   NORTHERN DISTRICT OF NEW YORK

 3    NATIONAL RIFLE ASSOCIATION OF )

 4    AMERICA,                           )
                                         )
 5                 Plaintiff,            )       CASE NO.1:18-CV-566
                                         )
 6          vs.                          )
                                         )
 7    ANDREW CUOMO, et al.,              )
                                         )
 8                 Defendants.           )
                                         )
 9
                       TRANSCRIPT OF PROCEEDINGS
10                BEFORE THE HON. CHRISTIAN F. HUMMEL
                        MONDAY, AUGUST 10, 2020
11                          ALBANY, NEW YORK

12

13    FOR THE PLAINTIFF:
           Brewer, Attorneys & Counselors
14         By: Sarah Rogers and Michelle Joanna Martin, Esqs.
           750 Lexington Avenue, 14th Floor
15         New York, New York 10022

16
      FOR THE DEFENDANTS CUOMO and DFS:
17         Office of the New York State Attorney General
           By: William A. Scott, AAG, and Ryan L. Abel, AAG
18         The Capitol
           Albany, New York 12224
19

20    FOR DEFENDANT VULLO:
           EMERY CELLI BRINCKERHOFF, ABADY, WARD & Maazel, LLP
21         By: Andrew G. Celli, Jr., & Debra L. Greenberger, Esqs.
           600 Fifth Avenue, 10th Floor
22         New York, New York 10020

23

24                  THERESA J. CASAL, RPR, CRR, CSR
                    Federal Official Court Reporter
25                       445 Broadway, Room 509
                        Albany, New York 12207
                      THERESA J. CASAL, RPR, CRR
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 1                              (Court commenced at 11:01 AM.)

 2                 THE CLERK:     Today is Monday, August 10, 2020,

 3    11:01 AM.     The case is National Rifle Association of America

 4    versus Cuomo, et al., docket number 18-CV-566.          Please put

 5    your appearances for the record.

 6                 MS. ROGERS:     Sarah Rogers, with Brewer,

 7    Attorneys & Counselors, on behalf of the National Rifle

 8    Association.

 9                 MS. MARTIN:     Michelle Martin, on behalf of

10    National Rifle Association, from Brewer, Attorneys &

11    Counselors.

12                 MR. SCOTT:     William Scott, New York State Office

13    of the Attorney General, for defendants Cuomo and DFS.

14                 MR. ABEL:     Ryan Abel, from the Office of the New

15    York State Attorney General, here on behalf of defendants

16    Cuomo and DFS.

17                 MR. CELLI:     Andrew Celli, from Emery Celli

18    Brinckerhoff, Abady, Ward & Maazel, for defendant Maria

19    Vullo.

20                 MS. GREENBERGER:     Debbie Greenberger for defendant

21    Maria Vullo.

22                 THE COURT:     Again, good morning to all counsel.      I

23    scheduled this conference this morning because the

24    plaintiff, Miss Martin, filed a letter, which is docket

25    number 236, which was filed on July 31st of 2020, in which

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 1    the plaintiff indicates they wish to make a motion, among

 2    other things, to compel third-party Everytown to comply with

 3    a subpoena and also to make a motion for the issuance of

 4    Letters of Request for International Judicial Assistance to

 5    compel the production of documents and to take certain

 6    depositions involving Lloyds of London; 23-page document

 7    having been filed on July 31st of 2020.

 8                Docket number 239 is a letter filed by defendant

 9    Cuomo, by Mr. Scott, indicating opposition to that

10    request, which was filed on August 7th of 2020; and docket

11    number 240 is a letter filed on behalf of Ms. Vullo, by

12    Ms. Greenberger, indicating her opposition to the request as

13    well.

14                Let me just clarify a couple things for you, then

15    I'll hear from counsel.

16                Number one, with respect to the earlier order I

17    issued at docket 234, the order specifically provides that

18    it stays discovery between the parties by its terms, and by

19    my intention, it was not intended to affect discovery

20    involving nonparties to this matter.

21                And number two, one of the concerns raised by

22    Ms. Greenberger and Mr. Scott is there are a number of

23    motions pending in front of Judge McAvoy which may affect

24    the scope of the issues in this case, and in Ms. Vullo's

25    case, if successful, may result in the entirety of the

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 1    action being dismissed against her.

 2                All defense counsel have raised an objection and a

 3    concern about conducting discovery while those motions are

 4    pending.

 5                To the extent that the Court let's the NRA file

 6    this motion, it's my expectation, given that motions are

 7    decided in the order in which they are filed, that that

 8    motion will not be reached until after Judge McAvoy has made

 9    a decision on Mr. Scott's motion to reconsider the issue of

10    the scope of discovery in this matter, as well as the

11    pending partial motion to dismiss filed by defendant Cuomo,

12    as well as a motion filed by the Emery firm on behalf of

13    Miss Vullo seeking to dismiss this action in its entirety

14    based upon, among other things, the issue of immunity.

15                So, given that sort of prelude, Ms. Martin and

16    Ms. Rogers, I presume you folks want me to give you a

17    briefing schedule so you can file this motion.

18                MS. ROGERS:    We do, your Honor.     And I will only

19    note that although the Court is obviously at liberty to

20    decide motions in the manner the Court feels most efficient,

21    at least one of the motions we're filing, the Everytown

22    motion, should not depend, even if defendants prevail on

23    their motion to reconsider, Judge McAvoy's granting our

24    appeal of the prior motion to compel ruling.         It is beyond

25    question whether or not that motion prevails we are entitled

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 1    to documents that would reflect the -- regardless of whether

 2    that motion to reconsider prevails, we obviously think

 3    because it is a motion to reconsider, presumptively it won't

 4    prevail, it has to meet a very high standard, we will still

 5    be entitled, no matter what, to discovery of documents that

 6    reflect defendant's Second Amendment viewpoint animus, if

 7    any.   That is the loadstar of relevance for the First

 8    Amendment retaliation claim, regardless of whether the

 9    selective enforcement claims come in, regardless of whether

10    Judge McAvoy's grant of our appeal is sustained, we're

11    entitled to that.

12                And discovery is documents held by Everytown or

13    documents that reflect interactions between defendants and

14    Everytown are almost, per se, probative of Second

15    Amendment --

16                           (Court reporter interrupted.)

17                MS. ROGERS:    So, let me try this a bit more

18    slowly.    So documents possessed by Everytown that concern

19    the subject matter of this case or that reflect

20    communications, interaction, collaboration between Everytown

21    and defendants with regard to the subject matter of this

22    case are almost, per se, relevant, irrespective of how some

23    of these pending motions are resolved, because the issue of

24    Second Amendment viewpoint animus by the New York State

25    Government is going to come in pretty much no matter what.

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 1    I mean, those First Amendment retaliation claims, for

 2    example, against Governor Cuomo, are not even the subject of

 3    pending motions and they were in the case even before Judge

 4    McAvoy granted our prior appeal, which is now the subject of

 5    the motion for reconsideration.

 6                So, all of this is my way of saying that we would

 7    respectfully request that, you know, if and when we file

 8    these motions, that at the very least it be -- Everytown

 9    motion be that the Court consider deciding it promptly.

10                The other point I would make about the Hague

11    motion, Letters Rogatory, this isn't a motion to compel,

12    this is a threshold motion we have to make just to serve our

13    discovery because the Hague process is so protracted, so

14    just to get these subpoenas into the hands of their targets,

15    we have to make this motion.       And we made it for the first

16    time almost a full year ago, in August 2019, and it was

17    fully briefed, defendants made many of the same objections

18    they're making now and the Court said we're denying this

19    only without -- you know, without prejudice to renewal if

20    Judge McAvoy grants the appeal, which Judge McAvoy granted.

21                So what I would suggest and propose to the Court

22    is that just to try to keep the case moving, this threshold

23    step of getting the Letters Rogatory out, that this be --

24    and we would set this forth more fully in our papers, but if

25    and when the discovery scope of the case changes, if

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 1    defendants prevail on some of their pending motions, once

 2    we're meeting and conferring and agreeing on the scope of a

 3    deposition, scope of a document production, those rulings

 4    can come into play.

 5                But what we're afraid of is that we will delay

 6    months and months just serving the subpoena on the offshore

 7    entities and that if defendants don't prevail on each and

 8    every one of their pending motions, discovery would have

 9    been unnecessarily protracted in the case for no reason.

10                THE COURT:    All right.    Mr. Scott, do you wish to

11    be heard with respect to the issue?

12                MR. SCOTT:    Only briefly, your Honor.      This is

13    William Scott from the New York State Attorney General's

14    Office.

15                I won't belabor the relevancy and sort of the

16    merits of these different discovery requests because if the

17    Court is going to set a briefing schedule, we'll address it

18    there.    I will note, as I do in my letter, it seems unlikely

19    to me that a nongovernmental entity has relevant documents

20    in a case where the allegations relate to the Governor's

21    supposed threats to insurance or banking industries that did

22    business with the NRA, so it seems unlikely that's gonna be

23    a probative area of inquiry.       But if we're gonna have motion

24    practice on that, we can address it there.

25                As far as the scheduling of things, I mean that's

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 1    certainly the Court's discretion and I won't infringe upon

 2    that, but as it relates to the Lloyd's documents in

 3    particular, in particular to the Hague, I think we are

 4    talking about walking down a road for potentially completely

 5    irrelevant documents and engaging in a process that, as

 6    counsel notes, could be very protracted for very little

 7    purpose.

 8                 But I'll defer to the Court on its motion

 9    scheduling and the manner in which it decides to determine

10    those motions, and we can address the merits of those

11    requests which we think would be deficient in any subsequent

12    briefing.

13                 THE COURT:   Miss Greenberger or Mr. Celli.

14                 MR. CELLI:   Good morning, your Honor, it's Andrew

15    Celli.

16                 THE COURT:   Good morning.

17                 MR. CELLI:   So, on behalf of Maria Vullo, we

18    strongly oppose the grant of permission to begin to litigate

19    at a time when, under Supreme Court precedents, Miss Vullo

20    is entitled to the repose of her motion to dismiss the case

21    on grounds of immunity; that is the whole purpose of both

22    qualified and absolute immunity.        And we understand that the

23    Court envisioned when it entered into its limited stay order

24    that there might be some third-party discovery.          We'd note

25    that we wanted a much longer stay period, that Your Honor

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 1    did not agree with that, but we understand that Your Honor

 2    envisioned the idea of their being some third-party

 3    discovery, but there ought not be because that,

 4    definitionally, will involve our client.         And under the

 5    Supreme Court precedent and Second Circuit case law that

 6    talks about immunity from suit, not just immunity from

 7    liability, she should have, on the basis of very well

 8    grounded immunity, immunity motions, not have to deal with

 9    the litigation in this case.

10                Just to talk for a moment about the Everytown

11    piece of this, Everytown for Gun Safety is the polar

12    opposite, as I understand it, politically from the NRA; they

13    have two totally different points of view.         There's going to

14    be a very substantial amount of litigation between those two

15    parties in connection with this motion, this is not some

16    random third-party that might have a couple of documents.

17    These guys are at war with one another politically, and

18    that's fine, that's the way our system works.          But to

19    embroil our client, the former Superintendent, who is not a

20    sitting member in government, who has very strong immunity

21    grounds for dismissal, in that litigation during a stay

22    period really undermines the whole purpose of the stay.

23                The idea that NRA counsel is suggesting that

24    animus, at least as to Miss Vullo, is relevant no matter

25    what is just not true.      We are seeking to dismiss the First

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 1     Amendment retaliation complaint, including on the grounds

 2     of qualified immunity, saying nothing of the absolute

 3     immunity, and if that prevails, there's no case with respect

 4     to Ms. Vullo and she will have nothing to do with whatever

 5     fight occurs between Everytown and the NRA over these

 6     documents.

 7                  The other thing is that, you know, I will confess

 8     that when we looked at Your Honor's order initially when it

 9     came down after the last conference, I didn't focus on the

10     idea that it was going to be just a stay between the

11     parties.     And then when this application was made, we

12     obviously looked at it more carefully and saw that clearly

13     that's what Your Honor had written and we expected that's

14     what Your Honor intended.

15                  We have lots of things that we would like to

16     litigate, including the fact that the NRA has failed, to

17     this date, to answer interrogatory responses and requests

18     for admissions providing any basis, any factual basis, for

19     their claims against our client.       We'd love to be able to

20     litigate those issues during this interim period, but we

21     understand that there's a stay, that's the whole purpose of

22     the stay in the context of an immunity motion.

23                  So we would ask the Court to modify its stay

24     application, it's only 60 days anyways, there would not be

25     any great efficiency lost; in fact, I think it would be

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 1     inefficient to litigate the motion with Everytown at a time

 2     when we don't know if Miss Vullo is going to be a defendant

 3     in the case.    If she is a defendant in the case after the

 4     immunity motion is decided, the scope of the claims against

 5     her are still very much in question and we're gonna have to

 6     do this whole thing over again, if we get to that point.

 7                So, on those grounds, we would ask that Your Honor

 8     deny the application for the filing of the motion to compel.

 9                As for the Letters Rogatory, it's the same issue,

10     just not quite as pointed, it's a third-party discovery, we

11     think that should be excluded as well.

12                THE COURT:    All right.    Thank you, Mr. Celli, sir.

13                I am gonna do two things:      Number one, I am gonna

14     set a schedule, let the NRA make their motion, but I want to

15     make it clear to you, Ms. Rogers and Miss Martin, these

16     motions are not gonna get decided until after Judge McAvoy

17     decides the two pending motions -- one for -- partially to

18     dismiss, and the other one filed by Ms. Vullo.         We decide

19     motions in the order in which they're filed here in the

20     Northern District, and that's my anticipation of what's

21     going to happen here.

22                But if you would like to file these motions,

23     Miss Rogers and Miss Martin, tell me when you want to file

24     your motions.

25                MS. ROGERS:    Thank you, your Honor.      In light of

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 1     the Court's guidance that the motions won't be decided until

 2     after certain pending motions are decided, we'd still like

 3     to file them, perhaps we can file both of them this coming

 4     Friday.

 5                THE COURT:    If you'd like more time, Ms. Rogers

 6     and Miss Martin, I'm happy to give it to you, but it makes

 7     sense to file them at this time, because as soon as your

 8     motions get in the queue to be decided, it would be my

 9     recommendation that you file these, and then if Judge McAvoy

10     denies one or both of the motions, then you're already in

11     line to get your cases decided.

12                MS. ROGERS:    That makes sense.     I think this

13     coming Friday works for both motions.

14                THE COURT:    Miss Martin, I assume you're doing

15     this motion, does this Friday give you enough time?          I

16     worked in a law firm, Miss Martin, I understand how these

17     things work.    Ms. Martin, if I gave you -- I will give you

18     until the 17th, Ms. Martin, because it's the summertime.

19                MS. MARTIN:    Thank you, your Honor.

20                THE COURT:    Mr. Scott and Mr. Abel, when do you

21     want to file your response?

22                MR. SCOTT:    Your Honor, without seeing the

23     substantive motion papers, it's hard to say, but I know

24     Mr. Abel has a trial coming up with Judge D'Agostino and the

25     back of the month is busy, so if we could get at least two,

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 1     three weeks at least, that would be helpful.         And also,

 2     we're not sure what Everytown's response will be either, but

 3     I think two to three weeks would be helpful.

 4                THE COURT:    Mr. Celli, if I give you and

 5     Ms. Greenberger the same time, until September 7th, to file

 6     your response, does that work?

 7                MR. CELLI:    That would be fine, your Honor.         And

 8     if I may -- I'll let Your Honor finish the schedule issue,

 9     but --

10                THE COURT:    Go ahead, Mr. Celli.      Go ahead.

11                MR. CELLI:    Well, I'm just, you know, reacting in

12     real time here.    To the extent that Your Honor is telling

13     us -- and this is helpful for us to know -- that this is

14     really a question of getting into the queue -- we do have

15     this privilege motion that we want very much to file because

16     privilege has been asserted in response to the key

17     interrogatory question about their factual basis against

18     Ms. Vullo, they are claiming a privilege which makes no

19     sense, we'd love to have that issue resolved.         And without

20     getting ahead of the client, you know, I have to speak to, I

21     just wanted to say that I hope Your Honor will look

22     favorably upon the idea that if we determine that it makes

23     sense to make a narrow motion on that privilege question

24     during this 60-day period to get the matter in the queue, as

25     you say, then it will be given the same kind of treatment

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 1     that the NRA's application has been given.

 2                THE COURT:    Yeah.   Mr. Celli, sir, to the extent

 3     you want to file that sort of motion, just send me a letter

 4     and I'll give you a briefing schedule to file it.          The only

 5     benefit, as I said, it gets you in the queue and moves your

 6     matter forward to getting discovered -- or decided, excuse

 7     me.

 8                MR. CELLI:    Our issue is we hope to have the next

 9     60 days off, it looks like we are not gonna have that, we

10     understand and are not arguing with the Court, now I'm just

11     thinking ahead, there are some things we can do to clear out

12     some of the underbrush here and get in the queue, as you

13     say, so that's helpful.

14                THE COURT:    Again, Mr. Celli, if you decide you

15     want, to use your phrase, to clear out the underbrush, send

16     me a letter and I'll set a briefing schedule for you.

17                MR. CELLI:    Thank you, sir.

18                THE COURT:    Miss Rogers and Miss Martin, other

19     than tell you to be safe and well, anything else you want to

20     talk about this morning?

21                MS. ROGERS:    No, your Honor.     Obviously, we oppose

22     the third-party discovery to begin with, so if defendants

23     are engaging in or proposing discovery motion to clear out

24     underbrush, we're happy to do that as well and we will await

25     defendant's letter.

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 1                  THE COURT:     All right.     Mr. Scott, Mr. Abel,

 2     anything else you want to talk about this morning?

 3                  MR. SCOTT:     Nothing further, your Honor.

 4                  THE COURT:     Mr. Celli, Miss Greenberger, anything

 5     else I can do for you folks?

 6                  MR. CELLI:     No, sir.     Thank you so much.

 7                  MS. GREENBERGER:     Thank you, your Honor.

 8                  THE COURT:     You folks be well.     We'll be in touch

 9     with you.     You folks have a nice week.

10                  MS. ROGERS:     Thank you, your Honor.

11                               (This matter adjourned at 11:21 AM.)

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 1               CERTIFICATION OF OFFICIAL REPORTER

 2

 3

 4                I, THERESA J. CASAL, RPR, CRR, CSR, Official

 5     Realtime Court Reporter, in and for the United States

 6     District Court for the Northern District of New York, do

 7     hereby certify that pursuant to Section 753, Title 28,

 8     United States Code, that the foregoing is a true and correct

 9     transcript of the stenographically reported proceedings held

10     in the above-entitled matter and that the transcript page

11     format is in conformance with the regulations of the

12     Judicial Conference of the United States.

13

14                Dated this 14th day of August, 2020.

15

16                /s/ THERESA J. CASAL

17                THERESA J. CASAL, RPR, CRR, CSR

18                FEDERAL OFFICIAL COURT REPORTER

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